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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—GENERAL

 Case No.    CV 20-5573-DMG (PVCx)                                  Date     October 16, 2020

 Title Sonja Joplin, et al v. University of Southern California                    Page     1 of 1

 Present: The Honorable      DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

              KANE TIEN                                             NOT REPORTED
              Deputy Clerk                                           Court Reporter

    Attorneys Present for Plaintiff(s)                      Attorneys Present for Defendant(s)
             None Present                                             None Present

 Proceedings: IN CHAMBERS—ORDER TO SHOW CAUSE WHY THIS CASE
              SHOULD NOT BE CONSOLIDATED WITH IN RE UNIVERSITY OF
              SOUTHERN CALIFORNIA TUITION AND FEES COVID-19 REFUND
              LITIGATION, CASE NUMBER CV 20-4066-DMG (PVCx)

        On July 17, 2020, the Court ordered four cases against Defendant University of Southern
 California (“USC”) consolidated under the caption In re University of Southern California
 Tuition and Fees COVID-19 Refund Litigation, case number CV 20-4066-DMG (PVCx)
 (“Consolidation Order”) [Doc. # 53]: Diaz, CV 20-4066; Watson, CV 20-4107; Greenberg, CV
 20-4172; and Kerendian, CV 20-5190. The latter three cases were administratively closed, and
 material documents filed in those closed cases are deemed to have been filed in the consolidated
 case. The Katriel Law Firm, Berger Montague PC, and Hagens Berman Sobol Shapiro LLP
 were appointed as co-interim class counsel. On October 9, 2020, the Court also consolidated
 Injune David Choi v. The University of Southern California, CV 20-5573, with the consolidated
 case.

        Plaintiffs Sonja Joplin, Robert Calvert, and Chile Aguiniga’s Class Action Complaint
 makes similar factual allegations and raises similar claims against USC as those in the
 consolidated case. The Court therefore ORDERS Plaintiff to SHOW CAUSE in writing why
 the Court’s July 17, 2020 Consolidation Order should not be applied to this case, such that this
 case would be consolidated with In re University of Southern California Tuition and Fees
 COVID-19 Refund Litigation, case number CV 20-4066-DMG (PVCx), and administratively
 closed. Plaintiff shall file its response, if any, by October 30, 2020, and USC may file its
 response, if any, by November 6, 2020. Failure to respond shall be deemed consent to
 consolidation.

 IT IS SO ORDERED.




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